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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                    )
DISTRICT OF COLUMBIA, et al.,                       )
                                                    )
                       Plaintiffs,                  )
                                                    )
                       v.                           )      C.A. No. 1:20-cv 00119-BAH
                                                    )
UNITED STATES DEPARTMENT OF                         )
AGRICULTURE, et al.,                                )
                                                    )
                       Defendants.                  )
                                                    )
                                                    )
BREAD FOR THE CITY, et al.,                         )
                                                    )
                       Plaintiffs,                  )
                                                    )
               v.                                   )      C.A. No. 1:20-cv-00127-BAH
                                                    )
UNITED STATES DEPARTMENT OF                         )
AGRICULTURE et al.,                                 )
                                                    )
                       Defendants.                  )
                                                    )

                                     [PROPOSED] ORDER
       Upon consideration of State Plaintiffs’ Motion for Summary Judgment, the Memorandum

and Declarations in support thereof, any opposition, any reply thereto, and any oral argument, the

Final Rule, see Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults

Without Dependents, 84 Fed. Reg. 66782 (Dec. 5, 2019); and the full record herein, it is hereby:

       ORDERED that Plaintiffs’ Motion for Summary Judgment is GRANTED; and it is further

       ORDERED that judgment is hereby entered to Plaintiffs as to all claims asserted in the

above-captioned action; and it is further

       ORDERED that pursuant to the Order, the Rule: Supplemental Nutrition Assistance
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Program: Requirements for Able-Bodied Adults Without Dependents, 84 Fed. Reg. 66782 (Dec.

5, 2019) is hereby vacated.


       DATED: ____________, 2020
                                                      ____________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




                                               2
